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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Criminal Case No. 24-cr-00006-CNS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

ANDERSON LEE ALDRICH,
a/k/a Nicholas Brink,

      Defendant.



                                 INFORMATION


      The United States Attorney Charges that:

      At all times relevant and material to this Information, unless otherwise

stated:

                                  BACKGROUND

      1.     Club Q was one of only a few nightclubs in Colorado Springs, Colorado,

catering to the LGBTQIA+ community. Club Q’s large sign with rainbow colors, the

rainbow-colored wood panels on its outside and its digital and physical advertising of

scheduled programming proudly proclaimed its welcoming of people all along the

gender and sexuality spectrums. Sign boards outside Club Q on November 19, 2022,

showed that Club Q was hosting a drag show at 9:00 p.m. That show was part of a



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weekend collection of events centered around Transgender Day of Remembrance that

Club Q advertised.

      2.     The defendant ANDERSON LEE ALDRICH, a/k/a Nicholas Brink, (“the

defendant”) used computers, internet service providers, web-based retail platforms,

web-based financial payment process platforms, and interstate commercial mail

carriers, to acquire firearm components, ammunition, and tactical gear in connection

with a plan to commit a mass shooting at Club Q. Aldrich also used electronic

communication service providers to plan the attack.

      3.     On or about November 19, 2022, the defendant drove to Club Q in a gold

Toyota Highlander. Upon arrival, the defendant got out of the vehicle wearing a

tactical vest with ballistic plates and walked into Club Q carrying a loaded 5.56

NATO caliber, gas-piston, AR-type Privately Manufactured Firearm (the “rifle”) and

at least two additional magazines loaded with ammunition.

      4.     Once inside Club Q, the defendant began firing the rifle at Club Q’s

patrons. The defendant killed five people, whose identities are known to the United

States Attorney, with the rifle: D.A., R.G.V., K.L., A.P., and D.R.

      5.     As part of the premeditated attack on Club Q’s patrons, the defendant

fired his rifle on the Club Q premises where forty-five patrons were present, whose

identities are known to the United States Attorney, with the rifle: I.A., M.A., J.A.,

L.B., T.B., M.B., A.B., P.C., B.C., J.D., D.D., J.F., K.F., R.F., A.G., M.G., C.G., S.H.,

B.H., T.J., F.J., W.K., A.L., C.L., J.L., C.Lo, J.Lo., I.L., A.M., D.M., D.N., B.P., T.P.,


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S.R., M.R., R.R., M.S., E.S., S.S., C.S., J.S., J.T., D.V., R.V., and B.W. All told, the

defendant fired approximately 60 rounds of ammunition from the rifle.

       6.     As the defendant continued the attack, two of Club Q’s patrons, R.F. and

T.J., forcibly removed the rifle from the defendant’s person. After being disarmed of

the rifle, the defendant accessed a loaded Glock 17-type 9 x 19mm caliber Privately

Manufactured Firearm (the “handgun”) from the defendant’s person and shot at

patron T.J., who suffered serious bodily injury.

       7.     The defendant’s attack on Club Q interfered with the club’s ability to do

business and provide a safe, fun, and welcoming environment for patrons who had

gathered there during and after the drag show as part of a weekend of events related

to Transgender Day of Remembrance. The defendant’s attack further caused Club Q

to cease commercial operations.

                                    COUNTS 01-05

       8.     Paragraphs One through Five and Seven of this Information are

hereby incorporated as to Counts One through Five of the Information.

       9.     On or about November 19, 2022, in the State and District of Colorado,

the defendant ANDERSON LEE ALDRICH, a/k/a Nicholas Brink, willfully caused

bodily injury to each of the people listed below, whose identities are known to the

United States Attorney, because of the actual and perceived sexual orientation and

gender identity of any person:




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        Count                                     Person

        01                                        D.A.

        02                                        R.G.V.

        03                                        K.L.

        04                                        A.P.

        05                                        D.R.


In connection with each of the offenses in Counts One through Five, (1) the defendant

used channels, facilities, and instrumentalities of interstate and foreign commerce;

(2) the defendant employed a dangerous weapon that traveled in interstate and

foreign commerce; (3) the defendant’s conduct interfered with commercial and other

economic activity in which the victims were engaged at the time; and (4) the

defendant’s conduct otherwise affected interstate and foreign commerce. The offenses

resulted in the death of each person listed in Counts One through Five.

All in violation of Title 18, United States Code, Section 249(a)(2)(A)(ii)(I), (B)(ii),

(B)(iii), (B)(iv)(I), and (B)(iv)(II).

                                         COUNTS 06-24

       10.     Paragraphs One through Seven of this Information are hereby

incorporated as to Counts Six through Twenty-Four of the Information.

       11.     On or about November 19, 2022, in the State and District of Colorado,

the defendant ANDERSON LEE ALDRICH, a/k/a Nicholas Brink, willfully caused

bodily injury to each of the people listed below, whose identities are known to the

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United States Attorney, because of the actual and perceived sexual orientation and

gender identity of any person:

       Count                                Person

       06                                   I.A.

       07                                   L.B.

       08                                   T.B.

       09                                   P.C.

       10                                   J.D.

       11                                   A.G.

       12                                   B.H.

       13                                   T.J.

       14                                   F.J.

       15                                   W.K.

       16                                   C.L.

       17                                   J.L.

       18                                   J.Lo.

       19                                   A.M.

       20                                   T.Pr.

       21                                   M.S.

       22                                   E.S.



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        Count                                     Person

        23                                        C.S.

        24                                        J.S.


In connection with each of the offenses in Counts Six through Twenty-Four, (1) the

defendant used channels, facilities, and instrumentalities of interstate and foreign

commerce; (2) the defendant employed a dangerous weapon that traveled in

interstate and foreign commerce; (3) the defendant’s conduct interfered with

commercial and other economic activity in which the victims were engaged at the

time; and (4) the defendant’s conduct otherwise affected interstate and foreign

commerce. Each of the offenses charged in Counts Six through Twenty-Four included

an attempt to kill.

All in violation of Title 18, United States Code, Section 249(a)(2)(A)(ii)(II), (B)(ii),

(B)(iii), (B)(iv)(I), and (B)(iv)(II).

                                         COUNTS 25-50

       12.     Paragraphs One through Seven of this Information are hereby

incorporated as to Counts Twenty-Five through Fifty of the Information.

       13.     On or about November 19, 2022, in the State and District of Colorado,

the defendant ANDERSON LEE ALDRICH, a/k/a Nicholas Brink, willfully

attempted to cause bodily injury through the use of a firearm to each of the people

listed below, whose identities are known to the United States Attorney, because of

the actual and perceived sexual orientation and gender identity of any person:

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       Count                             Person

       25                                M.A.

       26                                J.A.

       27                                M.B.

       28                                A.B.

       29                                B.C.

       30                                D.D.

       31                                J.F.

       32                                K.F.

       33                                R.F.

       34                                M.G.

       35                                C.G.

       36                                S.H.

       37                                A.L.

       38                                C.Lo.

       39                                I.L.

       40                                D.M.

       41                                D.N.

       42                                R.P.

       43                                S.R.



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        Count                                     Person

        44                                        M.R.

        45                                        R.R.

        46                                        S.S.

        47                                        J.T.

        48                                        D.V.

        49                                        R.V.

        50                                        B.W.


In connection with each of the offenses in Counts Twenty-Five through Fifty, (1) the

defendant used channels, facilities, and instrumentalities of interstate and foreign

commerce; (2) the defendant employed a dangerous weapon that traveled in

interstate and foreign commerce; (3) the defendant’s conduct otherwise affected

interstate and foreign commerce, and (4) the defendant’s conduct interfered with

commercial and other economic activity in which the victims were engaged at the

time. Each of the offenses charged in Counts Twenty-Five through Fifty included an

attempt to kill.

All in violation of Title 18, United States Code, Section 249(a)(2)(A)(ii)(II), (B)(ii),

(B)(iii), (B)(iv)(I), and (B)(iv)(II).

                                         COUNTS 51-55

       14.     Paragraphs One through Seven of this Information are hereby

incorporated as to Counts Fifty-One through Fifty-Five of the Information.
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      15.    On or about November 19, 2022, in the State and District of Colorado,

the defendant ANDERSON LEE ALDRICH, a/k/a Nicholas Brink, knowingly used

and carried firearms, namely, (1) an AR-15 style assault rifle with no serial number;

and (2) a Glock-17-type pistol 9 mm, comprised of a Polymer 80, model PF940V2 9mm

Caliber pistol with no serial number and a Glock slide and barrel bearing serial

number AFXK404, during and in relation to, a crime of violence for which the

defendant may be prosecuted in a court of the United States, namely, Hate Crimes

Resulting in Death, in violation of Title 18, United States Code, Section 249(a)(2), as

charged in Counts One through Five of this Information, and in the course of said

offenses, discharged a firearm in violation of Title 18, United States Code, Section

924(c)(1)(A)(iii). In the course of using, carrying, and discharging such firearms, the

defendant caused the death of the persons listed below, whose identities are known

to the United States Attorney, through the use of a firearm, which killings constituted

murder, as defined in Title 18, United States Code, Section 1111(a):

       Count                    Corresponding              Person

                                Crime of Violence by

                                Count

       51                       01                         D.A.

       52                       02                         R.G.V.

       53                       03                         K.L.

       54                       04                         A.P.


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       Count                     Corresponding              Person

                                 Crime of Violence by

                                 Count

       55                        05                         D.R.



All in violation of Title 18, United States Code, Section 924(j)(1).


                                      COUNTS 56-74

      16.    Paragraphs One through Seven of this Information are hereby

incorporated as to Counts Fifty-Six through Seventy-Four of the Information.

      17.    On or about November 19, 2022, in the State and District of Colorado,

the defendant ANDERSON LEE ALDRICH, a/k/a Nicholas Brink, knowingly used

and carried firearms, namely, (1) an AR-15 style assault rifle with no serial number;

and (2) a Glock-17-type pistol 9 mm, comprised of a Polymer 80, model PF940V2 9mm

Caliber pistol with no serial number and a Glock slide and barrel bearing serial

number AFXK404, during and in relation to a crime of violence for which the

defendant may be prosecuted in a court of the United States, namely, Hate Crimes,

in violation of Title 18, United States Code, Section 249(a)(2), as charged in Counts

Six through Twenty-Four of this Information, and in the course of said offenses,

discharged a firearm.




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       Count                 Corresponding Crime Person

                             of Violence by Counts

       56                    06                      I.A.

       57                    07                      L.B.

       58                    08                      T.B.

       59                    09                      P.C.

       60                    10                      J.D.

       61                    11                      A.G.

       62                    12                      B.H.

       63                    13                      T.J.

       64                    14                      F.J.

       65                    15                      W.K.

       66                    16                      C.L.

       67                    17                      J.L.

       68                    18                      J.Lo.

       69                    19                      A.M.

       70                    20                      T.Pr.

       71                    21                      M.S.

       72                    22                      E.S.

       73                    23                      C.S.



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        Count                    Corresponding Crime Person

                                 of Violence by Counts

        74                       24                          J.S.



All in violation of Title 18, United States Code, Section 924(c)(1)(A)(iii).



COLE FINEGAN

United States Attorney

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